                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In the Matter of:                                }
 JIT INDUSTRIES, INC.                             }    CASE NO. 18-80892-CRJ-11
                                                  }
                                                  }    CHAPTER 11
        Debtor                                    }


                       ORDER EXTENDING DEADLINE TO FILE
                   CHAPTER 11 PLAN AND DISCLOSURE STATEMENT

        Before the Court is the Debtor’s Motion to Vacate Deadline to File a Disclosure Statement
 and Chapter 11 Plan of Reorganization and Set Matter for Status Conference in Sixty Days. On
 April 10, 2018, the Court entered an Order Setting Deadline to File Chapter 11 Plan and Disclosure
 Statement and Setting Bar Date for Filing Claims, fixing September 10, 2018 as the deadline to
 file the Debtor’s Chapter 11 Plan and Disclosure Statement.
        The Debtor seeks an Order vacating the deadline based upon pending litigation in which
 the Debtor is involved and requests, instead, that the Court schedule this case for Status Conference
 in sixty days. Because a Chapter 11 Plan can be filed notwithstanding threatened or pending
 litigation, the Court will extend the deadline to file the Debtor’s Chapter 11 Plan and Disclosure
 Statement but will not schedule a Status Conference in this matter.
        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the deadline to
 file the Debtor=s Chapter 11 Plan and Disclosure Statement is extended to Friday, November 9,
 2018, by 5:00 p.m., CDT.



 Dated this the 5th day of September, 2018.

                                                       /s/ Clifton R. Jessup, Jr.
                                                       Clifton R. Jessup, Jr.
                                                       United States Bankruptcy Judge




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